                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE FIRSTENERGY CORP.
SECURITIES LITIGATION,

This document relates to:                             Civil Action 2:20-cv-3785
                                                      Chief Judge Algenon L. Marbley
                                                      Magistrate Judge Jolson
        ALL ACTIONS.



                                               ORDER

        This matter is before the Court on the parties’ Joint Motion for Fact Deposition Protocol

(Doc. 306). The parties reached consensus as to Sections D–I of the protocol, but require court

intervention as to Sections A–C. (Id.). Having reviewed the respective positions outlined by the

parties in the Motion, the Court adopts a fact deposition protocol as enumerated below.

        Further, the Court acknowledges that meet and confer efforts have not progressed

efficiently or urgently. (See id. at 2–4). Accordingly, the Court imposes the following procedure:

The parties are to engage in meet and confer every seven (7) days, represented by counsel

authorized to negotiate and compromise. Should any dispute remain unresolved after discussion at

two such meet and confer efforts, the parties should consider the issue at an impasse and present

the issue and their respective positions to the Court in a joint submission.



                            PROTOCOL FOR FACT DEPOSITIONS

 A.      Number of Depositions

      1. Without seeking leave of the Court, each side shall be permitted to take 65 depositions
         (that is, 42 party depositions and up to 23 non-party depositions).

 B.      Time Allotment

      1. Unless additional time is requested and supported by a good faith argument, no individual
         deponent will be required to sit for more than 14 hours of deposition testimony, with up
        to 7 hours allocated to Plaintiffs and up to 7 hours allocated to Defendants.

     2. For planning and scheduling purposes, if counsel for any party intends to question a
        witness that it did not originally notice, counsel must provide notice of that intention via
        email correspondence within three business days of service of the deposition notice. If a
        party fails to provide such notice, leave to participate in questioning must be requested
        and supported by a good faith argument.

C.      Coordination

     1. This Protocol will govern how the parties in the action captioned In re FirstEnergy Corp.
        Securities Litigation, No. 2:20-cv-3785 (S.D. Ohio) (the “Action”), conduct fact
        depositions in this case.

     2. Consistent with the Court’s prior indications and in the interest of party and judicial
        efficiency, the parties must attempt to coordinate the fact depositions conducted in the
        Action with those conducted in the related opt-out cases captioned MFS Series Trust I, et
        al. v. FirstEnergy Corp., et al., No. 2:21-cv-05839 (S.D. Ohio), Brighthouse Funds Trust
        II – MFS Value Portfolio, et al. v. FirstEnergy Corp., et al., No. 2:22-cv-00865 (S.D.
        Ohio) (together, the “Coordinated Cases”).

     3. Should coordination of fact depositions between the Action and the Coordinated Cases
        prove impracticable, or should Lead Plaintiff and its counsel believe that coordination is
        hindering its ability to represent the putative class in the Action, the parties are directed
        to schedule a status conference before the Court. At such conference, the Court will
        require a showing of the opt-out parties’ inability to cooperate.

D.      Noticing Depositions

     1. All deposition notices shall comply with the requirements of Federal Rule of Civil
        Procedure 30(b) and shall be served to email addresses provided by the parties.

     2. Once a deposition notice is served by one party, no other party need serve a notice for
        deposition of the same witness. For the sake of clarity, time allotment for deposition
        questions is addressed in Subpart B, supra.

     3. All third-party subpoenas seeking deposition testimony shall comply with Federal Rule
        of Civil Procedure 45.

     4. For each deposition of an organization, the noticing party shall provide the list of topics
        to be covered in the Rule 30(b)(6) deposition together with the Target Period (as defined
        below).




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     5. For 30(b)(6) depositions, if any party other than the noticing party wants to question on
        additional topics, that party must serve a notice identifying those additional topics within
        five business days of service of the original notice.

     6. To the extent a deposition noticed is not proceeding on the noticed date, the noticing
        party agrees to promptly provide written confirmation to counsel for all parties.

E.      Selecting Deposition Dates

     1. Absent agreement of the parties, depositions of individual defendants shall not proceed
        until after the deadline for substantial completion of document production by Defendants,
        see Doc #276 (“Substantial Completion Deadline”).

     2. The parties shall meet and confer regarding third-party depositions that may proceed
        before the Substantial Completion Deadline.

     3. For each individual deponent, the noticing party shall provide the name of the deponent
        and the desired period of time in which it wants to depose the witness (“Target Period”).
        The noticing party shall provide this information to counsel for all parties.

     4. The “Target Period” must commence no sooner than three weeks from the date of the
        request and include at least a three-week period.

     5. Absent exigent circumstances, Counsel for the witness would then have four business
        days to provide at least two dates when the deponent is available within the Target Period
        (“Available Dates”). Counsel shall endeavor to provide more than two Available Dates,
        to the extent additional dates within the Target Period are available.

     6. All weekdays, including Mondays and Fridays, may be offered.

     7. If more than three depositions are noticed within a 24-hour period, the period of time for
        providing Available Dates shall be extended to 6 business days.

     8. If any party objects to a deposition going forward within the proposed Target Period, the
        party must raise its objection to the Target Period within two business days of the Target
        Period being identified. The parties shall then promptly meet and confer regarding any
        objections to the Target Period.

     9. Absent agreement of all parties, no more than one party deposition may occur on the
        same date.

     10. If, because of legitimate scheduling conflicts, the witness has fewer than two Available
         Dates within the Target Period or if the noticing party has scheduling conflicts on the
         Available Dates identified by the witness, the parties must meet and confer in good faith
         and explore alternate options, including weekend depositions or depositions outside the
         proposed Target Period.



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     11. If no agreement can be reached despite good-faith efforts, the parties may seek an
         informal telephonic conference with the Court pursuant to Local Rule 37.1.

     12. During the fact discovery period, Lead Plaintiff shall circulate a calendar of scheduled
         depositions via email to the service list on the 1st and 15th of every month, or the next
         business day thereafter.

F.      Location and Means of Attendance

     1. Unless all examining and defending parties are participating remotely or otherwise agree,
        the court reporter shall be in the same room with the witness.

     2. Where any examining counsel is participating remotely, that counsel is responsible for
        accessing the remote deposition platform sufficiently in advance to ensure the deposition
        begins on time.

     3. Every deposition noticed under this protocol must allow for any counsel and party
        representatives to attend by remote means.

     4. Unless the parties agree otherwise, depositions of the parties and their current or former
        officers and employees will take place within seventy-five (75) miles of the location
        where the deponent resides, is located at the time of the deposition, is employed, or
        regularly transacts business in person. Upon agreement of both the noticing party and the
        deponent, depositions may be taken at the offices of counsel for the party or deponent.

     5. Federal Rule of Civil Procedure 45(c) shall govern the location of third-party depositions.

     6. In order for counsel to make arrangements for adequate deposition space, representatives
        of Plaintiffs and each Defendant shall share the number of expected attendees with
        counsel responsible for hosting the deposition upon reasonable request and in any event
        no fewer than ten (10) business days prior to the deposition.

     7. A party or counsel hosting a deposition may require, for security purposes, the names of
        all attendees appearing at the deposition. If requested, this information must be provided
        at least three business days in advance of the deposition or as otherwise required.

G.      Conduct at Depositions

     1. A failure by counsel to allocate time among Plaintiffs, on the one hand, or among
        Defendants, on the other hand, or to enforce that allocation of time among themselves
        during a deposition shall not constitute grounds to extend a deposition.

     2. The noticing party shall proceed with its examination first. Examination of the witness
        by any other party should proceed immediately following the conclusion of the noticing
        party’s examination, unless otherwise agreed by the parties.




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     3. Counsel designated to conduct the examinations shall strive to ensure that any
        examination is as non-duplicative as is practicable and to ensure that the needs of all
        examining parties are reasonably accommodated.

     4. The only objections permissible during depositions shall be objections to “form” (and
        such objection shall preserve any and all objections, not limited only to the form of the
        question) or instructions regarding attorney-client privilege. The examining attorney may
        ask for clarification of an objection, if he or she desires.

     5. An objection made by any counsel is considered to be an objection on behalf of all
        counsel.

H.      Video Depositions

     1. By so indicating in its notice of a deposition, a party, at its expense, may record a
        deposition by videotape or digitally recorded video pursuant to Fed. R. Civ. P. 30(b)(3).

     2. If the noticing party does not designate that the deposition will be recorded by videotape
        or digitally recorded video, any other questioning party may issue a notice of its intent to
        so record the deposition.

     3. If any one party seeks to record its portion of the deposition, all portions shall be so
        recorded.

     4. No one shall use any form of recording device to record the deposition during the course
        of a deposition other than the designated videographer or court reporter. This shall
        include recording using any form of remote transmitting device, computer recording
        device, laptops, camera or personal device, including smart phones, tablets, iPads,
        Androids, iPhones, Blackberries, or other PDAs.

     5. Any person who violates this provision shall be immediately identified and reported to
        the Court for the possible imposition of sanctions.

     6. Nothing in this provision prevents or limits the taking of notes by those identified on the
        record.

I.      Expense

     1. The noticing party shall bear the initial expense of videotaping (if so noticed) and
        stenographic recording for the entirety of the deposition, regardless of how the
        questioning time is allotted, as well as any witness fees.

     2. Alternatively, upon agreement of the parties, the expense of videotaping and stenographic
        recording of the deposition shall be prorated and billed directly to each party based on the
        relative percentage of allotted questioning time.




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    3. If any party other than the original noticing party issues a notice of its intent to record the
       deposition, that party shall bear the expense of recording for the entirety of the
       deposition, regardless of how the questioning time is allotted.

    4. The parties shall pay for their own copies of transcripts and videotapes of depositions.



IT IS SO ORDERED.


Date: July 6, 2022                             /s/ Kimberly A. Jolson
                                               KIMBERLY A. JOLSON
                                               UNITED STATES MAGISTRATE JUDGE




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